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                     UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  )
                                          )
                                          )
v.                                        )      Case No.       22-cr-15-APM
                                          )
                                          )
                                          )
                                          )
THOMAS CALDWELL                           )
(US vs. Rhodes, III et. al)               )


                                         ORDER


       AND NOW, this __________ day of __________________, 2022 upon consideration of

the Defendants’ Joint Motion to Transfer Venue and Continue Trial Date and the Government’s

response thereto, it is hereby ORDERED that the Motion is GRANTED.




                                                 ____________________________
                                                 The Honorable Amit P. Mehta
                                                 United States District Court Judge
